Case 1:23-cv-00042-HCN-JCB Document 17 Filed 06/15/23 PageID.136 Page 1 of 3


                                                                       FILED IN UNITED STATES DISTRICT
                                                                        '-. COURT, DISTRICT OF UTAH
 Raland J Brunson
                                                                                   JUN 15 2023
 4287 South Harrison Blvd., Apt 132
                                                                                     GARV P. SERDAR
 Ogden, Utah 84403
 Phone: 385-492-4898                                                l'!~.--"'-·--;QSl(;;;;;:;:-:OF~COU~RT-
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 Email: thedreamofthecentury@gmail.com
 Pro Se


                                   UNITED STATES DISTRICT COURT
                                         DISTRICT OF UTAH

 RALAND J BRUNSON,                                    REQUEST TO SUBMIT FOR DECISION
                                                      ON PLAINTIFF'S MOTION TO DISMISS
                 Plaintiff,                            FOR LACK OF SUBJECT MATTER-
                                                               JURISDICTION
               vs.

 SONIA SOTOMAYOR, et al.,

                     Defendants.                  Case No. 1:23-cv-00042-HCN-JCB.

                                                  Judge: Howard C. Nielsen
                                                  Magistrate Judge: Jared C. Bennett


         Plaintiff Raland J Brunson ("Brunson") hereby moves this court with His Request To

 Submit For Decision On Plaintiff's Motion To Dismiss For Lack Of Subject Matter-Jurisdiction

 and states:

         This request is made pursuant to DUCivR 7-3

    •   Plaintiff served their said motion on or about April 19, 2023 (ECF 7).

    •   Brunson served his opposition on or about May 15, 2023 (ECF 14).

    •   Plaintiff filed their reply on or about May 30, 2023 (ECF 16).

    •   Brunson is not aware of any hearing that has been requested.

    •   This motion is fully briefed and is ready for a decision.




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       Humbly submitted this the 12th day of June, 2023.




                                CERTIFICATE OF SERVICE

I hereby certify that on the 12th day of June, 2023 I personally placed in the United States Mail
to the individuals named below a true and correct copy of REQUEST TO SUBMIT FOR
DECISION ON PLAINTIFF'S MOTION TO DISMISS FOR LACK OF SUBJECT
MATTER-JURISDICTION.         '--



TRJNA A HIGGNS
AMANDA A BERNDT
111 South Main Street, #1800
Salt Lake City, Utah 84111




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           Raland J Brunson
           4287 S. Harrison Blvd. #132
           Ogden, UT 84403




                              Judge Jared C. Bennett
                              United States Courthouse
                              351 S West Temple
                              Salt Lake City, UT 84101-1908
